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Counsel to Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                  )
    In re:                                                        )        Chapter 11
                                                                  )
    SIZMEK INC., et al.,1                                         )        Case No. 19-10971(SMB)
                                                                  )
                                        Debtors.                  )        (Jointly Administered)
                                                                  )

    DECLARATION OF GLENN TOBIAS IN SUPPORT OF DEBTORS’ MOTION FOR
     AN ORDER AUTHORIZING AND APPROVING A PRIVATE SALE OF DEBTOR
    SELLER’S PORTION OF THE ADSERVER BUSINESS FREE AND CLEAR OF ALL
    LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, AND GRANTING
                             RELATED RELIEF

                    I, Glenn Tobias, make this Declaration (the “Declaration”) pursuant to 28 U.S.C.

§1746, and state as follows:

                                                          Introduction

             1.     I am the Chief Executive Officer of FTI Capital Advisors, LLC (“FTICA”) and a

Senior Managing Director with FTI Consulting, Inc. (“FTI Consulting”, together with FTICA,




1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies, Inc. (6402);
      Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
      Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter 11 cases is: 401
      Park Avenue South, 5th Floor, New York, NY 10016.



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“FTI”). On March 21, 2019, Sizmek Inc. and its affiliated debtors and debtors in possession in the

above-captioned chapter 11 cases (collectively, “Debtors”) engaged FTICA to provide investment

banking and restructuring advisory services in these chapter 11 cases.

           2.       I submit this declaration (“Declaration”) in support of Debtors’ Motion for an

Order Authorizing and Approving a Private Sale of Debtor Seller’s Portion of the AdServer

Business Free and Clear of all Liens, Claims, Encumbrances, and Other Interests and Granting

Related Relief (the “Motion”).2

           3.       Except as otherwise indicated, all statements in this Declaration are based on my

personal knowledge of Debtors’ operations and finances gleaned during the course of my

engagement with Debtors; my discussions with Debtors’ senior management, other members of

the FTI team, and Debtors’ other advisors; my review of relevant documents; and my views based

upon my experience. If called to testify, I would testify competently to each of the facts set forth

in this Declaration. I am authorized to submit this Declaration on behalf of FTI for Debtors.

                                            Background and Qualifications

           4.       I joined FTI in 2009 and have more than twenty-five years of experience advising

clients on and executing mergers and acquisitions and financings. Prior to joining FTI more than

ten years ago, wherein most of my time has been spent building and now leading our investment

banking efforts, I have worked in positions focused on advising and executing transactions through

senior banking and corporate positions, as well as an independent consultant. I have advised

clients in many industries, including media, internet and software companies, on a broad range of

restructuring, acquisition, and capital raising transactions.




2
    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Motion.


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         5.       FTI is an internationally recognized restructuring and turnaround firm, has a wealth

of experience in providing financial advisory services, and enjoys an excellent reputation for the

services it has rendered in large and complex chapter 11 cases on behalf of debtors and creditors

throughout the United States. FTI’s professionals, including those within FTICA, have provided

strategic advice to debtors, creditors, bondholders, investors and other entities in numerous chapter

11 cases of similar size and complexity to Debtors’ chapter 11 cases. FTI has provided or is

providing restructuring and/or investment banking services in cases such as: Sears Holdings Corp.,

Open Road Films, LLC, F+W Media, Inc., RadioShack Corporation, SFX Entertainment, Chassix,

Inc., Peabody Energy Corp., CIT Group, MF Global, Vertellus Specialties, Inc., Aeropostale, Inc.,

American Apparel, Inc., and Hastings Entertainment, Inc.

                                          FTI’s Engagement

         6.       Pursuant to the Engagement Letter dated March 21, 2019, FTICA agreed to serve

as Debtors’ investment banker and financial advisor. Since it was engaged, FTI’s professionals

have worked closely with Debtors’ management, employees and other advisors to assist Debtors

with, among other things, contacting prospective buyers, business and due diligence discussions

with prospective buyers, and participating in negotiations among Debtors and prospective buyers

to help facilitate a going concern sale of Debtors’ assets.

         7.       FTI immediately began work on a sale process upon commencement of its

engagement, creating a data room, contacting potentially interested parties and fielding dozens of

inbound inquiries. The data room was available on March 31, 2019 and over fifty-five (55) parties

have been granted access to the data room. At least a dozen of these parties indicated they were

primarily interested in the AdServer business.




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         8.       Under my supervision, the FTI team has worked closely with Debtors’ management

and their other professionals and has developed substantial knowledge about Debtors’ operations

and financial condition.

                                       The Marketing and Sale Efforts

         9.       FTI, with the support of Debtors’ management and other advisors, is leading the

sale process for substantially all of Debtors’ remaining assets, which comprise Debtors’ AdServer

and Peer39 businesses.

         10.      FTI has indicated to all buyers that the AdServer and Peer 39 businesses are

available both individually and together in order to ensure that Debtors receive the highest and

best price for both assets. In the sale process letter FTI sent to more than seventy (70) interested

parties, it indicated that it would accept bids for any of the individual business segments or all of

them.

         11.      Debtors received six (6) initial offers for AdServer by the initial April 12, 2019 bid

deadline FTI set in the process letter. Since receiving these initial purchase offers, FTI and

Debtors’ management have participated in extensive diligence sessions and negotiations with the

parties who submitted letters of interest.

         12.      Until very recently, when the Debtors decided to focus on completing a transaction

with the Buyer, Debtors and FTI had been working with three parties each of which was actively

engaged in bidding for the Purchased Assets. These parties engaged in many rounds of robust

bidding over the course of several weeks. After Debtors were satisfied that they had negotiated

the best deal possible, Debtors determined that it was in the best interest of their estates and their

constituents to proceed forward with Buyer and work towards executing a mutually-agreeable

transaction.



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         13.      Based on my conversations with Debtors’ management and my conversations with

prospective buyers, as well as my understanding of the business realities, I believe selling the

AdServer to Buyer on an expedited basis is the best way to maximize the value of this asset.

                                         The Buyer and APA

         14.      In my role as Debtors’ investment banker and financial advisor, I was actively

involved in the solicitation and review of sales offers, as well as the negotiation of the APA.

         15.      Based on my participation in negotiations with the Buyer and my review of the

APA, I believe the Sale Transaction and the APA represent the best way to maximize the value of

the AdServer. The APA contemplates a Purchase Price of approximately $30 million, which will

be allocated between Debtor Seller and Non-Debtor Sellers as follows: (1) $12,266,000 to Debtor

Seller; (2) $3,447,000 to Sizmek Technologies, Ltd (UK); and (3) $14,288,000 to Sizmek

Technologies, Ltd. (Israel). The Sellers will also retain the accounts receivable related to the

AdServer business.

         16.      Central to maximizing value for the AdServer is completing the transaction on an

expedited time frame. Debtors face serious challenges, including the potential loss of access to

cash collateral if the AdServer must be sold through a lengthier sale process. Moreover, given the

robust sales and marketing process that has occurred to date, a lengthier process is not necessary

or advisable under the circumstances.

         17.      Throughout the marketing and solicitation process, the FTI team has participated

in extensive conversations with Cerberus, in order to confirm that Cerberus is informed of the

contemplated Sale Transaction and finds it acceptable.

         18.      The terms and conditions of the Sale Transaction are the product of good faith arm’s

length negotiations between the parties. Based on my extensive participation in all aspects of the



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marketing process, the Buyer has acted in good faith and without any collusion. Based on the sale

process and a review and evaluation of all of the proposals and potential buyers, the Buyer’s offer

very likely presents Debtors with the best value for the Purchased Assets and the proposed private

sale to the Buyer is the most efficient means of maximizing the value of the Purchased Assets.

         19.      Based on my review of the APA, the Sale Transaction will result in significant

benefits to Debtors’ estates.

         20.      Absent consummation of the Sale Transaction, the value of the AdServer business

will likely diminish, both by loss of employees and customers.

         21.      Debtors’ entry into the APA is necessary, appropriate, and a reasonable exercise of

Debtors’ business judgment and should be approved.

         22.      Based on my experience, the terms and conditions of the Sale Transaction are fair,

reasonable, and consistent with current market conditions.

 Dated: June 3, 2019                       Glenn Tobias
 New York, NY                              Glenn Tobias
                                           Chief Executive Officer of FTI Capital Advisors, LLC
                                           Senior Managing Director of FTI Consulting, Inc.




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